                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
SK/EMR/PP/MED                                     271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  November 23, 2022

By E-mail and ECF

César de Castro, Esq.
111 Fulton Street - 602
New York, New York 10038

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80 Broad Street, Suite 1900
New York, New York 10004

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

              Please find enclosed an initial production of the government’s trial exhibits.
The government will continue to produce exhibits on a rolling basis and reserves the right to
revise the materials enclosed herein.

                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:     /s/
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cc: Clerk of Court (BMC) (via ECF)
